  Case: 5:16-cv-00264-DCR Doc #: 28 Filed: 09/25/17 Page: 1 of 2 - Page ID#: 69



                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF KENTUCKY
                                  LEXINGTON DIVISION

MICHELLE BRAY,

   Plaintiff,

-vs-                                              CASE NO.: 5:16-CV-00264-DCR

ONEMAIN FINANCIAL GROUP, LLC,

   Defendant.
                                      /


                JOINT STIPULATION OF DISMISSAL WITH PREJUDICE


        COMES NOW the Plaintiff, Michelle Bray, and the Defendant, OneMain Financial

Group, LLC, and pursuant to Fed. R. Civ. P. 41(a)(1)(A)(ii), hereby stipulate to dismiss, with

prejudice, each claim and count therein asserted by Plaintiff against the Defendant in the above

styled action, with Plaintiff and Defendant to bear their own attorney’s fees, costs and expenses.

        Respectfully submitted this 25th day of September, 2017.



/s/ Shaughn C. Hill, Esquire                      /s/ Tanya Yarborough Bowman, Esquire
Shaughn C. Hill, Esquire                          Darren A. Craig, Esquire
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  Case: 5:16-cv-00264-DCR Doc #: 28 Filed: 09/25/17 Page: 2 of 2 - Page ID#: 70



                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF KENTUCKY
                                LEXINGTON DIVISION

MICHELLE BRAY,

Plaintiff,
                                              CASE NO.: 5:16-CV-00264-DCR
-vs-

ONEMAIN FINANCIAL GROUP, LLC,

Defendant,
                                  /

                      ORDER OF DISMISSAL WITH PREJUDICE

        IT IS HEREBY ORDERED AND AGREED that the instant action be and is hereby

Dismissed with Prejudice as to OneMain Financial Group, LLC.



        DONE AND ORDERED this ______ day of September 2017.




                                         DANNY C. REEVES JUDGE
